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                                 (19-20A) (Part 19-20A)                                         APR O8 2025
                               Case No. 25-cv-00613-MLB                                       KE~         EIMER, Cler~
                                                                                             B~(~            Deputy Cieri<
                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION



ULYSSES T. WARE and GROUP MANAGEMENT,
(Debtor)
Appellants,                                                                 11--zoA .
v.

ALPHA CAPITAL, AG, et al., Predatory Unregistered Brokers-Dealers,
Appellees.



                        On Appeal from the United States Bankruptcy Court
                               for the Northern District of Georgia
                                     Case No. 03-93031-WLH



APPELLANTS' MEMORANDUM OF LAW IN SUPPORT OF REQUEST FOR
JUDICIAL NOTICE AND RIGHT TO BE HEARD REGARDING ADMITTED FEDERAL
CRIMES EVIDENCED WITHIN THE JOINT STIPULATED APPELLATE RECORD
(JSAR) PURSUANT TO FEDERAL RULE OF EVIDENCE 201(c)(2).

Respectfully submitted this 2nd day of April 2025.

The Office of Ulysses T. Ware
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     £V,,f'J(.~   Jr   ()Al_
By: /4 Ulysses T. Ware
Ulysses, Attorney in Fact for Appellants
Group Management and Ulysses T. Ware

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401(2), 401(3), 924(c), 1201-02; 1341, 1343, 1344, 1503, 1951(a), 1957-57, 1961(6)(B), 1962(a-d), and
2071(a), (b) conspiracy to commit Predatory Unlawful Debt Collection and Enforcement Crimes.
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A. INTRODUCTION


       Appellants Ulysses T. Ware and Group Management ("Appellants"), pursuant to Federal

Rule of Evidence 201 (c)(2)), respectfully request that this Honorable Court take judicial notice of

specific adjudicative facts-constituting binding judicial admissions and confessions

establishing Appellees' and their privies, agents, proxies, surrogates, alter-egos, and all those in

active concert therewith, (i) NY State crimes, NYS Penal Law, § 190.40, the criminal usury law,

a class E felony ; and (ii) federal crimes under 18 U.S.C. §§ 152, 157, 371 , 401(2), 401(3), 924(c),

1201-02, 1341, 1343 , 1344, 1503 , 195l(a), 1961(6)(B), 1956-57, 1962(a-d), and 2071(a), (b)- !!!!

ongoing and persistent pattern of racketeering activities-which are contained within, and

readily verifiable from, the Joint Stipulated Appellate Record(" JSAR") filed in this appeal (25-

cv-00613) pursuant to Fed. R. Bankr. P. 8009(d). [JSAR Dkt 5-1 to 5-16; and Dkt. 9].


       These admitted facts, confessions, judicial admissions, and stipulations sourced directly

from the JSAR to which Appellees have stipulated, irrefutably demonstrate numerous overt and

predicate acts of Hobbs Act extortion, the collection of predatory criminal usury unlawful debts,

GX 1-4, and participation in a RICO conspiracy committed by or confessed to by agents of

Appellees, including but not limited to Leonard B. Sand, the U.S. Marshals (NOGA), SDNY),

Kenneth A. Zitter, Esq.; convicted felon Edward M. Grushko; Barbara R. Mittman; Alexander H.

Southwell, Esg., (referenced as former AUSA); Jeffrey B. Norris ; Kilpatrick Townsend &

Stockton LLP ("KTS") attorneys Dennis S. Meir, John W. Mills, III, J. Henry Walker, IV, and

Wah Kadaba; the United States Trustee ("UST"), Region 21 (James H. Morawetz), William D.

NeSmith, III, Nall & Miller, LLP, Patrick N. Arndt, Michael D. Hostetter, Baker & McKenzie,


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LLP, Lawrence B. Mandala, Robert H. Albaral, David J. Malliband, Thomas J. Leghorn, John F.

King, Edward T.M. Garland, Manibur S. Arora, Donald F. Samuel, David B. Levitt, Janice Singer,

Michael F. Bachner, and others.


I. PRELIMINARY STATEMENT

        This 25cv00613 (NDGA) appeal necessitates confronting the stark reality, evidenced by

binding judicial admissions, confessions, and stipulations within the joint stipulated appellate

record, (JSAR), that the underlying 03-93031 Chapter 11 Bankruptcy Proceedings were exploited

by the Appellees, their privies, agents, proxies, surrogates, alter-egos, and all those in active

concert therewith, jointly, (the "Appellees"), as an instrumentality for the commission of numerous

federal felony crimes.


        The Appellants pursuant to Rule 201(c)(2), (d) 1 request judicial notice from the District

Court under FRE 201(b) nor of contested allegations, but of dispositive facts, binding judicial

admissions, stipulations, and confessions, established by Appellees ' own agents' judicial

admissions and confessions contained within the JSAR. These binding judicial confessions and

admissions irrefutably document the knowing pursuit of criminally usurious "unlawful debt" (18

U.S.C. § 1961(6)(B)) and the utilization of extortionate means (18 U .S.C . § 195l(a)), orchestrated

through a RICO conspiracy (18 U.S.C. § 1962). As these damning facts , admissions, and


1
 (c) Taking Notice. The court: (1) may take judicial notice on its own; or (2) must take judicial notice if
a party requests it and the court is supplied with the necessary information. (d) Timing. The court
may take iudicial notice at any stage o(the proceeding. (e) Opportunity to Be Heard. On timely request,
a party (Appellants herein this 25cv00613 appeal] is entitled to be heard on the propriety of taking
judicial notice and the nature of the fact to be noticed. If the court takes judicial notice before notifying
a party, the party, on request, is still entitled to be heard.


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confessions originate from a record iointly stipulated to by the parties, their existence and content

are definitionally "not subject to reasonable dispute" and mandate judicial notice.


11. LEGAL ST AND ARD FOR JUDICIAL NOTICE OF FACTS WITHIN A STIPULATED
RECORD. 2

         Federal Rule of Evidence 201 permits judicial notice of adjudicative facts, confessions,

and stipulations "not subject to reasonable dispute" because they "can be accurately and readily

determined from sources [the JSAR] whose accuracy cannot reasonably be questioned." Fed. R.

Evid. 201 (b )(2). The 25cv00613 Joint Stipulated Appellate Record, submitted pursuant to Fed. R.

Bankr. P . 8009(d), represent~ precisely such a source. By stipulating to the record, the parties

agreed to its authenticity, which was iudicially certified by the Bankruptcy Court, and its accurate

reflection of the proceedings and documents contained therein. Consequently, the existence and

content of specific statements, testimony, and filings within the JSAR are facts whose accuracy

cannot reasonably be questioned by the stipulating parties. See, e.g., Christian Legal Soc. Chapter

of the Univ. of California, Hastings Coll. of the Law v. Martinez, 561 U.S. 661,676 (2010) ("A


2
  Rule 201. Judicial Notice of Adjudicative Facts
(a) Scope. This rule governs judicial notice of an adjudicative fact only, not a legislative fact.
(b) Kinds of Facts That May Be Judicially Noticed. The court may judicially notice a fact that is not
subject to reasonable dispute because it:
(1) is generally known within the trial court's territorial jurisdiction; or
(2) can be accurately and readily determined from sources whose accuracy cannot reasonably be
questioned.
(c) Taking Notice. The court:
(1) may take judicial notice on its own; or
(2) must take iudicial notice if a party (Appellants herein this 25cv00613 appealj requests it and the
court is supplied with the necessary information [the JSAR] .
(d) Timing. The court may take judicial notice at any stage of the proceeding.
(e) Opportunity to Be Heard. On timely request, a party is entitled to be heard on the propriety of taking
judicial notice and the nature of the fact to be noticed. If the court takes judicial notice before notifying a
party, the party, on request, is still entitled to be heard.


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party is bound by its stipulations."). Judicial notice of admissions contained within such a

stipulated record is therefore particularly appropriate. 3


III. ADMITTED FACTS, STIPULATIONS, CONFESSIONS, ESTABLISHED
APPELLEES' FEDERAL CRIMES SUBJECT TO JUDICIAL NOTICE FROM THE
JSAR.

        Appellants request th.at the Court take FRE 201(c)(2) judicial notice of the following

specific facts, established by admissions and confessions contained within the JSAR (25-cv-

00613):


A. Judicial Admissions by Kenneth A. Zitter, Esq. (Counsel for Appellee KTS Clients)
Evidencing RICO Predicate Acts (Collection of Unlawful Debt; Conspiracy) (Source: JSAR,
Exhibit F-11; Dkt. 9 references; U.S. v. Ware, 04-cr-1224 Transcripts):

1. Notice of the fact that Kenneth A. Zitter admitted under oath that he, acting for Appellee KTS

clients, "hired" KTS attorneys (specifically Dennis S. Meir, Esq.) for the express purpose of



3
  Martinez, Id, "Litigants, we have long recognized, " [a]re entitled to have [their] case tried upon the
assumption that ... facts , stipulated into the record, were established." H. Haclifeld & Co. v. United
States, 197 U. S. 442, 447 (1905).[Footnote 7] This entitlement is the bookend to a party's undertaking to
be bound by the factual stipulations it submits. See post, at 10 (Alito, J. , dissenting) (agreeing that "the
parties must be held to their Joint Stipulation~. As a leading legal reference summarizes:
"[Factual stipulations are] binding and conclusive ... , and the facts stated are not subject to subsequent
variation. So, the parties will not be permitted to deny the truth of the facts stated, ... or to maintain a
contention contrary to the agreed statement• ... or to suggest, on appeal, that the facts were other than
as stipulated or that any material fact was omitted. The burden is on the party seeking to recover to show
his or her right from the facts actually stated." 83 C. J. S., Stipulations §93 (2000) (footnotes
omitted). This Court has accordingly refused to consider a party's argument that contradicted a joint
"stipulation [entered] at the outset of th[e] litigation." Board of Regents of Univ. of Wis.
System v. Southworth , 529 U.S. 217,226 (2000). Time and again, the dissent races away from the facts to
which CLS stipulated. See, e.g., post, at 2, 3, 5, 6, 7, 8, 11 , 24.[Footnote 8] But factual stipulations are
"formal concessions ... that have the effect of withdrawing      a·fact from issue and dispensi~g wholly
with the need for proof of the fact. Thus, a judicial admission ... is conclusive in the case." 2 K. Broun,
McCormick on Evidence §254, p. 181 (6th ed. 2006) (footnote omitted). See also, e.g., Oscanyan v. Arms
Co. , l 03 U. S. 26 1, 263 ( 1881) ("The power of the court to act in the disposition of a trial upon facts
conceded by counsel is as plain as its power to act upon the evidence produced.")."

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engaging in "collection activity" within the Bankruptcy Proceedings (03-93031) concerning the

debt instruments identified as. GX 1-4 and GX 5, which Appellants contend constitute criminally

usurious unlawful debt under 18 U.S .C. § 1961 (6)(B).


2. Notice of the fact that Kenneth A. Zitter admitted under oath his awareness of the automatic

stay imposed by 11 U.S .C. § 362, concurrent with the pursuit of said "collection activity" via the

Bankruptcy Proceedings without seeking stay relief, thereby confessing to facts establishing

willful stay violation, a component of the alleged bankruptcy fraud scheme.


3. Notice of the fact that Kenneth A. Zitter admitted under oath coordinating "strategies and

the pleadings" with KTS counsel (Meir) for the 03-93031 Bankruptcy Proceedings, evidencing

concerted action and conspiracy (18 U.S.C. § 1962(d)) to utilize the bankruptcy process for the

collection of the alleged pr~datory criminal usury unlawful debts in violation of 18 USC §

1961(6)(B).


4 . Notice the fact that on Dec. 20, 2007, Dkt. 90, ex parte, after the NYS statute oflimitation had

run on all claims in the 02cv2219 (SDNY) lawsuit, Appellee Zitter, with the consent of his clients,

the 02cv2219 (SDNY) plaintiffs, voluntarily demand that District Judge Leonard B. Sand dismiss

the 02cv2219 (SDNY) lawsuit with preiudice pursuant to Fed. R. Civ. P. 41(a)(2). [JSAR Dkt. 5-

13 on pages 46-4 7].


B. Documented Admissions/Actions by Alexander H. Southwell, Esq., Kenneth A. Zitter,
Esq., and Robert Norris Evidencing Hobbs Act Extortion Predicate Acts (Source: JSAR,
Dkt. 5-13, pp. 57-58):




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1. Notice of the fact that the JSAR, Dkt. 5-13 on pages 57-58, contains documented statements

and accounts, attributed to or concerning Appellees' agents Southwell and Norris, describing their

knowledge of and/or participation in coercive and physically threatening kidnapping, armed

aggravated assault and battery, attempted armed robbery, extortion, unlawful debt collection

activities criminal misconduct on September 1, 2004-including alleged kidnapping, assault,

battery, and attempted armed robbery-undertaken to collect the disputed debts, which constitute

predicate acts of extortion under the Hobbs Act, 18 U .S.C. § 195l(a).


C. Admissions by Conduct by KTS Attorneys (Meir, Mills, Walker, Kadaba) Evidencing
RICO Predicate Acts (Collection of Unlawful Debt) (Source: JSAR, Dkt. 5-2, 5-4, 5-5, 5-6
[Certificates of Service for KTS Notices of Appearance]):



1. Notice of the fact that KTS attorneys Meir, Mills, Walker, and Kadaba formally appeared (JSAR

Dkt. 5-1, 5-3, 5-5) and served notice thereof (JSAR Dkt. 5-2, 5-4, 5-6) in the Bankruptcy

Proceedings (03-93031) for the explicit purpose of representing Appellee creditors (Alpha Capital,

AG, et al.) in connection with claims based on the predatory criminal usury unlawful debts (GX

1-4, GX 5), thereby initiating overt acts within the judicial process aimed at collecting said

unlawful debt under 18 U.S.C. § 1961(6)(8).


D. Admissions by Conduct by the U.S. Trustee (James H. Morawetz) Facilitating Collection
of Unlawful Debt (Source: JSAR, Dkt. 5-1, 5-3):

1. Notice of the fact that the U.S. Trustee, having formally appeared (JSAR Dkt. 5-1 ), moved to

dismiss the Debtor's Chapter 11 case "with prejudice" (JSAR Dkt. 5-3) without addressing or



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challenging the facially apparent unlawful nature of the predatory criminal usury debts, GX 1-4,

being pursued by KTS' clients, thereby taking action within the Bankruptcy Proceedings that

Appellants contend facilitated the continued extra-judicial collection efforts regarding unlawful

debt in violation of 18 USC 195 l(a), 1961 (6)(B), and 1962(a-d).


IV. ARGUMENT SUPPORTING JUDICIAL NOTICE OF ADMITTED CRIMES FROM
THEJSAR.

A. The Joint Stipulation Precludes Reasonable Dispute Regarding the Existence and
Content of the Admissions:

        The source of the requested facts-the JS AR-is one whose accuracy cannot be reasonably

questioned by Appellees, as they jointly stipulated to its contents pursuant to FRBP 8009(d).

Appellees are bound by their stipulation and cannot now contest the existence or the precise

content ofthe judicial admissions, confessions, and documented actions contained within the JSAR

entries cited above. These facts are thus definitively "not subject to reasonable dispute" under FRE

201(b)(2). See Hoodho v. Holder, 558 F.3d 184, 191 (2d Cir. 2009). 4


B. The Noticed Admissions Directly Evidence Elements of Federal Crimes:


    The facts requested for judicial notice are not mere background; they constitute direct

evidence, via binding judicial admissions and confessions, of the elements required to establish

violations offederal criminal statutes:



4
  A party's clear, deliberate factual statement in the course of litigation-be it in a brief, pleading, or oral
argument--operates as a binding judicial admission, thereby waiving the right to subsequently dispute or
alter those facts. This principle, illustrated in Hoodho's removal context, applies equally in civil,
bankruptcy, or other federal proceedings where factual admissions can streamline or conclusively resolve
issues.

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    1. Zitter's sworn testimony during U.S. v. Ware, 04cr1224 (SDNY), [JSAR Dkt. 9] judicial

        admissions established the mens rea and actus reus for conspiring (18 U.S.C. § 1962(d))

        to collect unlawful debt (18 U.S.C. § 1961(6)(8)) through the bankruptcy process

        (bankruptcy fraud, 18 U.S.C. §§ 2, 152 157, 371, 1341, 1343, 1344, 1503, 1961(6)(8), and

        1962(a-d) as a RICO predicate).

    2. The documented criminal misconduct involving Appellees Southwell, Zitter, and Norris

        (JSAR Dkt. 5-13 on pages 57-58) directly evidences the crimes committed against

        Appellants Ware and Group Management on Sept. 1, 2004, in Atlanta, GA, to wit:

        predatory, armed, extremely dangerous Hobbs Act unlawful debt collection activities,

        kidnapping, armed aggravated assault, battery, unlawful arrest, search, seizure, intentional

        infliction of emotional distress, and use of actual or threatened force, violence, or fear to

        collect and/or enforce the predatory criminal usury unlawful debts, GX 1-4, and GX 5-

        the core elements of Hobbs Act extortion (18 U.S.C. § 195l(a)).

    3. KTS's formal filings (JSAR Dkt. 5-2, 5-4, 5-5, and 5-6) represent overt and predicate

        racketeering unlawful debt collection acts within the judicial system aimed at collecting

        and/or enforcement of criminal usury debts, GX 1-4, and GX 5, Appellants maintain is

        unlawful per § 1961(6)(B).

    4. The UST's (James H. Morawetz) criminal actions (JSAR Dkt. 5-3), within the context of

        the other admitted facts, evidence personal and official criminal misconduct facilitating the

        predatory, unlawful debt collection criminal scheme.


C. Materiality to the Appeal:



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        These admitted facts are fundamentally material. They directly support Appellants'

arguments that the Bankruptcy Court's moot, null and void ab initio, and advisory orders [JSAR

0kt. 5-7 to 5-1 0] are predicated upon, or were procured through, fraud on the court and underlying

criminal conduct that renders the Appellee KTS clients' claims illegitimate ab initio and

undermines the integrity of the entire proceeding. Recognizing these admitted facts is essential for

a proper appellate review of whether the Bankruptcy Court committed reversible error by failing

to address the consequences of this admitted criminal activity.


V. CONCLUSION

        Appellants respectfully request that this Court take judicial notice, pursuant to Federal Rule

of Evidence 201 (c)(2), of the specific adjudicative facts, judicial admissions, confessions, and

stipulations enumerated in Section III. A-D supra, which constitute judicial admissions and

confessions contained within the Joint Stipulated Appellate Record evidencing predicate acts

supporting criminal violations of 18 U.S.C. §§ 1951(a), 1961(6)(B), and 1962(a-d). These facts,

binding judicial admissions, being derived from a joint stipulated source, the Rule 8009(d) Joint

Stipulated Appellate Record (JSAR), are not subject to reasonable dispute and are crucial for the

just resolution of this appeal.


Dated: April 2, 2025

Respectfully submitted,

By: Isl Ulysses T. Ware
Attorneys for Appellants Ulysses T. Ware and Group Management
c:;;;Jr~-w~

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                                    CERTIFICATE OF SERVICE

          I hereby certify that on this 2nd day of April, 2025, I filed the foregoing APPELLANTS'

MEMORANDUM OF LAW IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE OF

ADMITTED FEDERAL CRIMES EVIDENCED WITHIN THE JOINT STIPULATED

APPELLATE RECORD (JSAR) PURSUANT TO FEDERAL RULE OF EVIDENCE 201(c)(2)

with the Clerk of the District Court (NDGA) via U.S. Mail, and by email to the Chamber of the

Hon. Michael L. Brown, which will automatically send notification of such filing to all counsel of

record.




/s/ Ulysses T. Ware




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  17-18) (Part 17-18) March 31, 2025, Appellants' Memorandum of law (#10)
 Critical and Reversible Errors of Law and Fact, and Analysis of Judge Sand's
 Dec. 20, 2007, Voluntary Rule 4l(a)(2) final judgment's legal adverse penal and
 financial consequences on Appellees KTS, its clients, its partners, privies,
 proxies, surrogates, alter-egos, and all those in active concert therewith, a
 predatory loan sharking criminal enterprise.

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                                           utware007@gmai I.com

                                  Monday, March 3 1, 2025, 8:36:27 AM




 Re: Memorandum (#10) in Support of Dkt. 12 and Dkt. 14 re:
 Appellants' Analysis-Intentional and Deliberate Crimes and Frauds
 of Atlanta, GA Law Firm Appellee Kilpatrick, Townsend, &
 Stockton, LLP, and Reversible Errors of Law and Fact Committed
 by Chief Judges Wendy L. Hagenau, and Barbara Ellis-Monro
 Inconsistent with the Controlling Res J udicata Preclusive Effect of
 Judge Sand's Dec. 20, 2007, Dkt. 90, Voluntary Rule 41(a)(2) Final
 Judgment. [JSAR Dkt. 5-13 on pages 46-47].
 Respectfully submitted this 31st day of March 2025.

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 utware007@gmail.com

~ :JIUlysses T~ re
- ~ s~       i ~e      ~
  Attorney in Fact for Appellants


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 (17-18) (Part 17-18) re Appellants' Memorandum of law (#10) re : Hagenau and Ellis-Monro' s flagrant,
 malicious, deliberat e, intentional, bad faith, extrajudicial criminal errors of law and fact comm itted in 03-
 93031 on behalf of predators KTS and its predatory loan sharking unregistered broker-dealer clients.
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 KTS' Crimes and Frauds; and Chief Judges' Ellis-Monro and Hagenau's Critical and
 Reversible Legal and Factual Errors regarding Unregistered Broker-dealers and Judge
 Sand's Voluntary Rule 41(a)(2) Final Judgment.

                             Monday, March 31, 2025, 8:36:27 AM

      APPELLANTS' APPELLATE LITIGATION MEMORANDUM OF LAW {#10),.

From: Mr. Ulysses T. Ware, Attorney in Fact for Appellants Ulysses T. Ware and Group
Management- 25cv00613 (NDGA).


To: Appellees KTS, Meir, Mills, Walker, Kadaba, Zitter, Rabinowitz, Morawetz, Townson,
Treace, NeSmith, Frederick, Nash, Burgess, Mittlemen, Myers, Hewett, Baker & McKensie, LLP,
Mandala, Albaral, Malliband, Leghorn, Southwell, 1 Garland, Arora, Samuel, Loeb, Levitt,
Bachner, Singer, John F. King, John Doe Insurance Companies ##1-5, Crum & Forster Insurance,
QBE Insurance Corp., Nall & Miller, LLP, Arndt, Hostetter, et al., and their privies, agents,
proxies, surrogates, alter-egos, and all those in active concert therewith, an illegal criminal
association in fact as defined in 18 USC§ 1961(4), a predatory loan sharking, money laundering,
extortion, insurance fraud, unlawful debt collection, murder for hire, attempted armed robbery,
kidnapping, and racketeering continuing criminal enterprise.


Re: 25cv00613 (NDGA): Amplified Analysis Incorporating FINRA Certification: Absolute
Prohibition on Reliance Upon Annulled Aspects of 02cv2219 (SDNY) Inconsistent with the
Controlling Preclusive Effect of Judge Sand's 2007 Rule 41(a)(2) Final Judgment and
Federal Securities Law Voidness.

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By: Isl Ulysses T. Ware
01~:;?. W'--<--
utisles'f. Ware
Attorney in Fact for Appellants




1
 See JSAR Dkt. 5-13 on pages 57-60-the crimes and frauds of former AUSA (SONY) Alexander H.
Southwell and his privies.

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A. EXECUTIVE SUMMARY
        This Memorandum of Law (#10) in support of Appellants Banlcr. Rule 8013(a)(l) pending
motions (Dkt. 12 and Dkt. 14) and undocketed (17-13) (Part 17-13) Rule 8013(a)(l) Motion 2
provides an amplified legal analysis concerning the dispositive interaction between the doctrine of
res judicata, emanating from Judge Sand's Rule 41(a)(2) December 20, 2007, Final Judgment
dismissing Case No. 02cv2219 (S.D.N.Y.) with prejudice (the "Judge Sand's Rule 41(a)(2) 2007
Final Judgment" or "2007 Final Judgment"), and the related "Annulment Doctrine" applicable to
voluntary dismissals under Rule 41(a)(2) of the Federal Rules of Civil Procedure.

        Specifically, this analysis elucidates:

        (1) the absolute claim-preclusive effect of the 2007 Final Judgment, barring Appellees and
their privies from relitigating any aspect of the claims (02cv22 l9 (SDNY) and 03-93031 (BC
NDGA)) arising from the null and void ab initio Predatory Criminal Usury Subject Matter
Instruments (GX 1-4, GX 5); 3

        (2) the established scope of the Annulment Doctrine, which annulled and vitiated all prior
interlocutory orders and proceedings within the dismissed 02cv2219 action, but does not negate
the external preclusive force of the Rule 41(a)(2)finaljudgment itself; and

        (3) the necessary legal conclusion that these doctrines render subsequent judicial orders,
particularly the Bankruptcy Court's Order of October 24, 2022 (Dkt. 5-7; and Dkt. 5-8, 5-9, and
5-10), legally erroneous and without legal effect-a nullity, they contradict or disregard the
controlling mandate of the 2007 Final Judgment. Steel Co ., 523 U.S . at 94-95.

        Furthermore, this memorandum addresses the application of these principles within the
context of the In re Group Management Corp. Chapter 11 proceeding (Case No. 03-93031) and
the instant appeal (Case No. 1:25-cv-00613). It underscores that a bankruptcv court, like anv

2
  Appellants' undocketed motion for a protective order and injunctive relief with respect to Judge Sand's
02cv2219 (SDNY) voluntary Dec. 20, 2007, Rule 41(a)(2) final judgment's absolute and binding res
judicata preclusive effects on the 02cv2219 (SDNY) and their privies. See JSAR Dkt. 5-13 on pages 43-53.
3
  KTS and its unregistered broker-dealer clients-Alpha Capital AG, Amro International, S.A., Markham
Holdings, Ltd., and Stonestreet, L.P.--engaged in egregious misconduct in the 03-9303 I Chapter 11
proceedings by deliberately misrepresenting their legal standing and creditor status. As shown in Dkt. 5-2,
5-4, 5-5, and 5-6, these entities, acting through KTS, appeared in violation of 15 U.S.C. § 78o(a)(l) as
unregistered broker-dealers, and now in contemptuous defiance of Judge Sand's 2007 Final Judgment
(02cv2219) which extinguished all rights of enforcement under the predatory criminal usury instruments
(GX 1- 5). Their emergency motions to dismiss (Dkt. 5-5) and to reject contracts (Dkt. 5-4) constitute an
abuse of process, filed in bad faith and in furtherance of a pattern of unlawful debt collection and
concealment of RICO predicate acts. These filings violated Rule 901 l(b)(l)-(3) and 28 U.S.C. § 1927,
compounding fraud upon the bankruptcy court and corruptly obstructing the reorganization process.

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federal court, is bound by the preclusive effect of prior final federal iudgments and cannot
permit the resuscitation of claims definitively extinguished thereby. The factual chronology
demonstrates that Judge Sand 's Rule 4 l(a)(2) 2007 Final Judgment, procured voluntarily by the
02cv2219 Plaintiffs via legal counsel Appellee Kenneth A. Zitter, Esq. , [cf. , JSAR Dkt. 9] with
prejudice and after the expiration of all applicable statutes of/imitation, conclusively rendered
moot all prior efforts by those plaintiffs to enforce the null and void ab initio predatory and
criminally usurious instruments at issue.

        In conclusion, Judge Sand's voluntary Rule 4l(a)(2) 2007 Final Judgment operates as an
absolute and (voluntary) self-erected impenetrable bar to Appellees' moot claims concerning GX
1-4 and GX 5, and derivative issues, in any subsequent federal or state litigation. Federated, 452
U.S. at 398, 401-02. While the Annulment Doctrine nullifies prior interlocutory rulings internal to
the 02cv22 l 9 action, it does not undermine the external preclusive force ( res judicata) of the Rule
41(a)(2) final judgment terminating the 02cv2219 (SDNY) action on the merits. Consequently,
any judicial determinations, including the Bankruptcy Court's 2022 Order (Dkt. 5-7; and Dkt. 5-8,
5-9, and 5-10), that disregard this absolute and binding preclusive effect or rely on annulled
interlocutory aspects of the 02cv2219 litigation are legally void ab initio, moot, ultra vires,
advisory, erroneous and must be vacated or reversed, nunc pro tune. Federated, 452 U.S . at 398,
401-02.

         The 2007 Final Judgment is the exclusive, sole, final , and controlling extant legal
instrument (a final judgment) on the merits of Appellees' voluntarily abandoned, terminated, and
irrevocably extinguished claims with respect to GX 1-4, and GX 5, the predatory null and void ab
initio criminal usury unlawful debts. Steel Co. , 523 U.S. at 94-95; A.B. Dick, 197 F.2d at 501-02;
and L-3 Comm'cs EOTech, 921 F.3d at 18-19; NYS Penal Law, section 190.40; 18 USC §
1961(6)(B), and Grote, 961 F.3d 105, 109-119.

B. FACTUAL AND PROCEDURAL CHRONOLOGY
(i). Background and Disposition of 02cv2219 (S.D.N.Y.)

    1. Initiation of Litigation (2002): Appellees Alpha Capital AG, Stonestreet LP, Markham
       Holdings LP, and AMRO International SA (the "02cv2219 Plaintiffs"), alleged
       unregistered broker-dealers and holders of predatory convertible notes, commenced civil
       action 02cv2219 in the U.S. District Court for the Southern District of New York. The
       action sought enforcement ofrights purportedly arising under convertible promissory notes
       and related agreements (GX 1-4, GX 5), instruments demonstrably void ab initio under
       New York Penal Law§ 190.40 (criminal usury), a class E felony, due to effective interest
       rates vastly exceeding the 25% statutory cap (exceeding 2000%).
    2. Entry of Interlocutory Orders (Pre-2007): Before and after the pendency of the
       02cv2219 litigation, the S.D.N.Y. court (Hon. Leonard B. Sand) entered various
       interlocutory orders, including findings of contempt and directives concerning the
       enforcement of conversion rights [instances of racketeering-loansharking unlawful debt

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       collection activities as defined in Grote, 961 F.3d at 105, 109-119, and 18 USC §§ 1951(a),
       1961(6)(B), and 1962"(a-d)) associated with the legally null and void ab initio predatory
       unlawful debt instruments, GX 1-4. These moot orders, by their nature, did not constitute
       a final adjudication of the merits of the underlying claims.
    3. Voluntary Dismissal With Prejudice (December 20, 2007): Facing dispositive motions
       and, critically, after the expiration of all applicable statutes of limitation governing
       their claims, the 02cv2219 Plaintiffs themselves (voluntarily) affirmatively moved for,
       and the 02cv2219 (SDNY) S.D.N.Y. Court (Sand, J.) granted, a dismissal of their entire
       action with prejudice pursuant to Fed. R. Civ. P. 41(a)(2). This voluntary act resulted in
       the entry of the 2007 Final Judgment, definitively terminating the litigation on the merits
       in favor of Appellants herein, (the "Rule 41(a)(2) Prevailing Parties"). [JSAR, Dkt. 5-13,
       pp. 46-47].

(ii). Subsequent Proceedings: 03-93031 (BC NOGA) and 25cv00613 (NDGA)

    l. Bankruptcy Filing and Appellee Participation (2003 onwards): Appellant Group
       Management Corp. filed for Chapter 11 relief in the Northern District of Georgia
       Bankruptcy Court in March 2003 (Case No. 03-93031). Various Appellees, including the
       02cv2219 Plaintiffs (represented by KTS) and the Office of the U.S. Trustee, appeared in
       the bankruptcy case, asserting creditor status or taking positions predicated upon the
       enforceability of the same void instruments (GX 1-4, GX 5) at issue in the 02cv2219
       litigation. [See, e.g., JSAR Dkts. 5-1, 5-2, 5-3 , 5-4, 5-5, 5-6].
    2. Legally Erroneous Bankruptcy Court Order (October 24, 2022): Notwithstanding the
       conclusive 2007 Final Judgment extinguishing Appellees' claims, the Bankruptcy Court
       (Hagenau, C.J.) entered an Order on October 24, 2022 (Dkt. 5-7). This Order analyzed the
       history of the case, including events from 2002-2003, but critically failed to acknowledge
       or apply the controlling preclusive effect of the subsequent 2007 Final Judgment against
       the Appellees. The Order appears to mischaracterize the 2007 dismissal as being without
       prejudice [Dkt. 5-7, p. 28, n.3] and proceeds on the legally untenable premise that the
       02cv2219 Plaintiffs/Appellees retained viable claims or standing related to GX 1-4/GX 5
       after December 20, 2007 .
    3. Current Appeal (25cv00613): Appellants appeal orders entered by the Bankruptcy Court,
       including Dkt. 5-7 and subsequent related orders (Dkts. 5-8, 5-9, 5-10), arguing inter alia
       that these orders are null and void ab initio, moot, legal nullities, or legally and factually
       erroneous because they fail to give effect to the res judicata bar established by Judge Sand's
       Dec. 20, 2007, Rule 41(a)(2) Final Judgment [JSAR Dkt. 5-13 on pages 46-47) and
       improperly permit the participation of parties lacking Article III standing [cf. , JSAR Dkt.
       5-1 to 5-6].




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(iii). Application of Steel Co. v. Citizens for a Better Environment, 523 U.S. 83, 94-95
(1998).

       In the context of Judge Sand's voluntary December 20, 2007, Final Judgment dismissing
Case No. 02cv2219 (S.D.N.Y.) with prejudice, any subsequent attempts by Judges Hagenau and
Ellis-Monro [JSAR Dkt. 5-7 to 5-10] to relitigate or reassert the dismissed claims-particularly
through the Bankruptcy Court's Order of October 24, 2022 (Dkt. 5-T"ris not merely erroneous
but a legal nullitv. Under Steel Co. v. Citizens for a Better Environment, the Supreme Court
explained that:

        "Without jurisdiction the [02cv2219 (SDNY), 03-93031 (BC NDGA), 04cr1224(SDNY),
        05crl 115 (SDNY), In re Ware (2008) (Supreme Court of GA)] court cannot proceed at all
        in any cause. Jurisdiction is power to declare the law, and when it ceases to exist, :the
        only function remaining to the court is that of announcing the fact and dismissing the
        cause. Ex parte McCardle, 7 Wall. 506, 514 (1868) .... For a court to pronounce upon the
        meaning or the constitutionality of a state or federal law when it has no jurisdiction to do
        so is, by very definition, an advisory opinion." (Steel Co. , 523 US. at 94-95 (emphasis
        added)).

        This principle interlocks with the doctrines ofres judicata and Rule 41(a)(2) "annulment"
in the 02cv2219 (S.D.N.Y.) litigation. Once the District Court (Sand, J) entered the voluntary Dec.
20, 2007, Rule 41(a)(2) 2007 Final Judgment dismissing that action with prejudice, it extinguished
all claims arising from the Predatory Criminal Usury Subject Matter Instruments (GX 1-4, GX 5)
as a matter of law and fact. Consequently, the Bankruptcy Court's subsequent purported orders
(Id., Dkt. 5-7 to Dkt. 5-10)-when premised on those nullified claims-lack jurisdiction over
them. Because "jurisdiction is power to declare the law," once that power is vitiated by the
final judgment, the only permissible action is to 'announce the fact and dismiss the cause.'

        Thus, any ruling by Judges Hagenau and Ellis-Monro entered in 03-93031 [JSAR Dkt. 5-
7 to Dkt. 5-1 O] that effectively reopens or enforces the dismissed claims stands on the same footing
as an advisory pronouncement-"by very definition ... an advisory opinion" (id.)----:!nd is
therefore a legal nullitv. (emphasis added).

        The Annulment Doctrine of Rule 41(a)(2) further confirms that all interlocutory rulings in
the dismissed 02cv2219 case were rendered void, while the external preclusive force of the final
judgment itself remains fully operative. In short, by reactivating or endorsing the settled claims,
the October 24, 2022, Order (Dkt. 5-7) contradicts the final judgment's preclusive mandate and
transgresses the limited jurisdiction recognized by Steel Co.




C. PART I-Memorandum of Law (#10).

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I. INTRODUCTION

        The Appellants' Memorandum of Law provides a further amplified and rigorous legal
analysis concerning the dispositive interaction between the doctrine of res judicata, emanating
from the December 20, 2007, Final Judgment dismissing Case No. 02cv2219 (S.D.N.Y.) with
prejudice (the "Judge Sand's voluntary Rule 41(a)(2) Final Judgment" or "2007 Final Judgment"),
the related "Annulment Doctrine," and the critical, indisputable fact of the May 17, 2021,
FTNRA certification confirming the unregistered broker-dealer status of KTS's clients (the
so-called "Subscribers" /02cv2219 Plaintiffs). 4

         This analysis elucidates: (1) the multiple, independent legal and factual grounds
establishing the absolute claim-preclusive effect barring Appellees and their privies from
relitigating any claims arising from the Predatory Criminal Usury Subject Matter Instruments (GX
1-4, GX 5), including both res judicata and the statutory voidness under 15 U.S.C. § 78cc(b); (2)
the established scope of the Annulment Doctrine, which vitiates prior interlocutory orders within
the dismissed with prejudice 02cv2219 action but does not negate the external preclusive force of
Judge Sand's Rule 41(a)(2)finaljudgment itself; and (3) the necessary legal conclusion that these
doctrines render subsequent judicial orders, particularly the Bankruptcy Court's Order of October
24, 2022 (Dkt. 5-7), Dkt. 5-8, Dkt. 5-9, and Dkt. 5-10 issued by Chief Judge Hagenau, legally
erroneous, null and void ab initio, moot, advisory, and without effect, "nullities," (see Steel Co.,
523 U.S. at 94-95) because they contradict or disregard both the controlling mandate of the 2007
Final Judgment and the dispositive effect of (i) NYS Penal Law, section 190.40, the criminal usury
law, a class E felony, and (ii) federal securities and racketeering (loan sharking, money laundering,
and extortion) laws rendering Appellees' underlying predatory criminal usury contracts, GX 1-4,
and GX 5, null and void ab initio as to their alleged rights.

         The explicit confirmation by FINRA Senior Executive Marcia E. Asquith, Esq., on May
17, 2021, that KTS's clients operated as unregistered broker-dealers in violation of 15 U.S.C. §
78o(a)(l) [JSAR, Dkt. 5-13, p. 48] is not merely a supporting detail; it is a dispositive fact
triggering 15 U.S.C. § 78cc(b) and providing an independent, powerful federal statutory basis for
the voidness ab initio of GX 1-4 and GX 5 as regards the rights of the Appellees. The Bankruptcy
Court's apparent oversight of this critical fact, alongside its disregard for the 2007 Final Judgment,
represents a profound and multi-layered legal error that fundamentally undermines the legitimacy
of its subsequent orders.


4
  Chief Judges Ellis-Monro and Hagenau deliberately, intentionally, and in bad faith knowingly aligned
themselves with the predatory criminal interests of Kilpatrick, its loan sharking clients, and their privies in
furtherance of th!)Jr~datory Hobbs Act loan shar~g crim!!1al entei-rrise [see JSAR Dkt. 5-7, 5-8, 5-9, and
5-1 Q]j_where they, Judges ;llagenau and Ellis-Monro, and the Office of the U.S. Trustee, Region 21 's
lawyers (Morawetz, Townson, and Treace) have incurred irrefutable and substantial criminal
exposure i:md culpability regarding felony unlawful debt collection activities in violation of 18 USC
§§ 2,,,151,.1~7, 371,_4.Pl(~), 4QJ(3)J~!l, 134~.J503,.19Sl(~), !~l(fil1Q},_t962fl!:.4).,,.@J1J! 207!.~), <hl,
See the internal analysis.

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II. THE UNASSAILABLE HIERARCHICAL PRIMACY AND PRECLUSIVE
FORCE OF THE 2007 FINAL JUDGMENT, REINFORCED BY STATUTORY
VOIDNESS.

      The legal analysis begins with the combined and independent force of the 2007 Final
Judgment and the federal securities law voidness provision.

    1. Federal Statutory Voidness Under 15 U.S.C. § 78cc(b): The starting point (circa 2001),
        even preceding Judge Sand's voluntary Rule 4l(a)(2)                   2007 Final Judgment
       chronologically in its legal effect, is the inherent voidness of the predatory criminal usury
       contracts, GX 1-4, and GX 5, as to Appellees' rights. Section 15(a)(l) of the Exchange Act
       requires registration for entities engaged in the business of effecting securities
       transactions. 15 U.S.C. § 78o(a)(l). 5 The May 17, 2021, FINRA certification by Marcia E.
       Asquith provides official confirmation that KTS's clients (the 02cv22 l 9 Plaintiffs) violated
       this provision during the relevant period. Section 29(b) of the Exchange Act, 15 U.S.C. §
       78cc(b ), dictates the consequence: "every contract made in violation of any provision of
       this chapter ... shall be void ... as regards the rights of any person who, in violation of any
       such provision ... shall have made or engaged in the performance of any such contract."
    2. This federal statute rendered GX 1-4 and GX 5 void ab initio concerning any rights
       Appellees sought to assert thereunder. Legal Significance: This federal statutory voidness
       independently negates any "legally protected interest" required for Article III standing,
       rendering Appellees' claims legally non-existent from their inception, separate and apart
       from state usury law or res judicata. See Mills v. Electric Auto-Lite Co., 396 U.S. 375, 387-
       88 (1970).
    3. Final Adjudication "On the Merits" With Prejudice (2007 Final Judgment): The
       December 20, 2007, Dkt. 90, 02cv2219 (SDNY) voluntary dismissal with prejudice under
       Rule 41(a)(2), procured by the 02cv2219 Plaintiffs after limitations expired, operates as a
       final adjudication "on the merits." Semtek Int '! Inc. v. Lockheed Martin Corp., 531 U.S.
       497, 505-06 (2001). [JSAR, Dkt. 5-13, pp. 46-47].
    4. Res Judicata's Absolute Bar: This 2007 Final Judgment triggers the absolute bar ofres
       judicata, permanently prohibiting the 02cv22 l 9 Plaintiffs and their privies from relitigating
       any claims arising from GX 1-4/GX 5 that were or could have been raised in 02cv2219.
       Federated Dep't Stores, Inc. v. Moitie, 452 U.S. 394,398 (1981).
    5. Defining the Legal Reality: The confluence of federal statutory voidness under § 78cc(b)
       and the res judicata effect of the 2007 Final Judgment defines the conclusive legal reality:


5
  See JSAR Dkt. 5-13 on pages 52-53 (the sworn testimony (judicial admissions)) of Appellee Arie
Rabinowitz during the bOgllS, e_xtra- ·udicial, ultra vires, and moot U.S. v. Ware, 04cr1224 (SDNY,2 so-
called criminal trial, which as a matter of law and fact the bogus and moot 04cr1224 indictment pleaded
itself out ofthe f'ederal courts in 2004 where Appellee Alexander H. Southwell (i) pleaded actual innocent
affirmative defenses (binding judicial admissions) on the face of the risible indictment, ,i,i 7-22, and (ii)
failed to charge a cognizable "offense" within the scope of 18 USC §3231 and 18 USC § 401 (3), to enforce
and collect on the predatory criminal usury null and void ab initio unlawful debts, GX 1-4, and GX 5.

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        Appellees possess no legally cognizable or enforceable claim arising from GX 1-4/GX 5
        against Appellants.

III. THE LIMITED SCOPE OF THE ANNULMENT DOCTRINE vs. THE
EXTERNAL FORCE OF STATUTORY VOIDNESS AND RES JUDICATA.

        The "annulment" doctrine (A.B. Dick, EOTech) does not override the controlling
substantive legal effects established by federal statute (§ 78cc(b )) or the final judgment (res
judicata).

    1. Annulment's Internal Focus: Annulment applies to the internal procedural effects within
       the dismissed 02cv2219 case, nullifying prior interlocutory orders but not altering
       substantive rights or the effect of the final judgment itself.
    2. Final Judgment & Statutory Voidness Remain Intact: The Annulment Doctrine does
       not annul the final judgment dismissing claims with prejudice, nor does it revive
       contractual rights declared void ab initio by federal statute (15 U.S.C. § 78cc(b)). The final
       judgment's external preclusive effect and the statute's substantive voiding effect remain
       paramount and controlling.
    3. Preclusion and Voidness Trump Reliance on Annulled Matters: Subsequent courts
       cannot rely on any aspect of the annulled proceedings within 02cv2219 if doing so
       contradicts the conclusive outcome mandated by the 2007 Final Judgment or the
       substantive voidness dictated by § 78cc(b ).

IV. THE PROFOUND LEGAL ERROR IN JUDGE HAGENAU'S ORDER (DKT.
5-7) IGNORING BOTH RES JUDICATA AND STATUTORY VOIDNESS.

       Judge Hagenau's October 24, 2022 Order (Dkt. 5-7) is fatally flawed due to its failure to
recognize and apply multiple layers of controlling law that bar Appellees' claims and standing.

    1. Failure to Acknowledge/ Apply Controlling Res Judicata: As previously analyzeJ, the
       purported Order- advisory, ultra vires, moot, and void ab initio, critically fails to address
       or apply the dispositive res judicata effect of the 2007 Final Judgment, proceeding as if
       Appellees' claims somehow survived their Dec. 20, 2007, Rule 41(a)(2) voluntary
       dismissal with prejudice. [see JSAR Dkt. 5-13 on pages 46-4 7].
    2. Failure to Acknowledge/Apply Federal Statutory Voidness(§ 78cc(b)): Compounding
       the error regarding res judicata, Judge Hagenau's Order completely overlooks the
       independent, dispositive effect of 15 U.S .C. § 78cc(b). The fact that KTS's clients were
       unregistered broker-dealers, confirmed by FINRA in 2021, rendered their rights under GX
       1-4/GX 5 void ab initio (circa 2001) under federal law. This federal statutory bar exists
       i1tdependently of the 2007 Final Judgment and provides another absolute basis for
       concluding Appellees lacked any legally protected interest or standing to pursue claims
       based on these instruments in the bankruptcy court. Judge Hagenau's failure to address this
       controlling federal statute constitutes a profound legal error.

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    3. Mischaracterization of SDNY Dismissal: The Order's apparent mischaracterization of
       the 2007 dismissal as being without prejudice [Dkt. 5-7, p. 28, n.3] further infects its entire
       analysis, ignoring the actual procedural posture and its conclusive legal consequences.
    4. Reliance on Superseded/Moot Premises: By analyzing Appellees' status based on pre-
       2007 events and ignoring both the 2007 Final Judgment and the § 78cc(b) voidness, the
       Order rests on superseded legal premises (alleged facts) and addresses issues rendered
       moot by controlling subsequent events and statutes.
    5. Lack of Authority to Override Federal Law and Final Judgments: The Bankruptcy
       Court possessed no authority to disregard either the binding res judicata effect of the 2007
       Final Judgment or the explicit voiding provision of a controlling federal statute (15 U.S.C.
       § 78cc(b )). Its order (Dkt. 5-7), and subsequent orders relying upon it (Dkts. 5-8, 5-9, 5-
       10), are therefore legally erroneous and cannot validate Appellees' standing or participation
       in these proceedings.




V.SUMMARY

            1. Under 15 U.S.C. § 78cc(b), when a party- Appellee KTS' predatory unregistered
               broker-dealer clients, operates in violation of the Exchange Act's foundational
               provisions- particularly its mandatory broker-dealer registration requirements
               under 15 U.S.C. § 78o(a)(1)-any associated contractual arrangement, GX 1-4,
               and GX 5, are rendered void as to the violator's rights. This statutory mechanism
               is designed to .prevent an unregistered broker from invoking judicial processes to
               enforce, collect upon, or otherwise benefit from an unlawfully formed transaction.
               It reflects Congress's paramount objective of safeguarding investors and ensuring
               that only lawfully registered actors engage in broker-dealer activities under the
               purview of the Securities and Exchange Commission.
            2. Once a regulatory (FINRA's May 17, 2021) [JSAR Dkt. 5-13 on page 48]
               determination is made that the broker's conduct contravenes § 78o(a)(l ), the legal
               effect is final and categorical. The violator, Appellee KTS' predatory unregistered
               broker-dealer clients, [JSAR Dkt. 5-2] cannot seek relief or damages in any court
               (02cv2219 (SDNY), 03-93031 (BC NDGA), 04cr1224 (SDNY), 05crl 115
               (SDNY), In re Ware (2008) Supreme Court of GA, and 25cv00613 (NDGA)) with
               respect to the criminally tainted predatory debt instruments, GX 1-4, and GX 5.
            3. In 25-cv-00613 (N.D. Ga.), as well as in the underlying Chapter 11 bankruptcy
               proceeding in In re Group Management Corp . (No. 03-93031 (B.C. N.D. Ga.)),
               such an egregious securities law violation nullified any purported rights of the
               unregistered broker-dealers to enforce predatory criminal usury debts, GX 1-4,
               arising out of predatory securities instrument, GX 5 [JSAR Dkt. 5-1 to 5-1 O]. The
               same logic applies to parallel or ancillary proceedings, including U.S. v. Ware (No.
               04cr1224 (S.D.N.Y.)) and U.S. v. Ware (No. 05crl 115 (S.D.N.Y.)), where federal
               indictments were wielded as a retaliatory and vindictive means to collect or


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               facilitate the collection and enforcement of null and void ab initio criminally
               usurious debts (GX 1-4) in willful violation of federal racketeering loan sharking
               laws, 18 USC§§ 195l(a), 1961(6)(B), and 1962(a-d).
            4. Moreover, the (circa 2002) moot and void ab initio 02cv2219 (S .D.N.Y.) lawsuit-
               originally filed to enforce these same _predatory criminal usury unlawful debt
               instruments (GX 1-41 GX 5)---'tlnd the subsequent In re Ware (2008) proceedings
               in the Supreme Court of Georgia, in which fraudulent disbarment proceedings
               were fabricated and orchestrated as a Hobbs Act, Jim Crow racially motivated,
               hate crime criminal measure by Appel/ee SBGA, et aL to seize, steal, and destroy
               the business and personal prope~ ofAppellant Ware, his license topractice law,
               all demonstrate the profound reach of the statutory prohibition. Each of these
               matters underscores the principle that contracts, GX 1-4, and GX 5, rooted in
               regulatory (FINRA' s May 17, 2021) confirmed and verified unregistered broker-
               dealer status, predatory lending, or both, is null as to the violator's (KTS' predatory
               clients') rights.
            5. The net effect of this federal (15 USC 78cc(b)) and state (NYS Penal law, section
               190.40) statutory bar is to deny judicial recourse to the unregistered broker-dealers
               (KTS ' clients) who seek to profit or benefit from a predatory and illegally formed
               transaction (GX 1-4, and GX 5). Thus, the Exchange Act's public policy imperative
               is upheld: any entity or their privies circumventing the SEC's (FINRA's) oversight
               by failing to register as a broker-dealer, or aiding and abetting another required to
               register, cannot, in later proceedings, assert, enforce, or collect upon securities-
               based predatory criminal usury debts (GX 1-4)-especially where those alleged
               debts also implicate NYS Penal Law, section 190.40, (a class E felony) criminal
               usury laws or reflect retaliatory abuse of judicial and prosecutorial mechanisms.
            6. As a consequence, KTS' predatory unregistered broker-dealer clients are not
               permitted- lacked Article III standing, to employ the courts or legal process to
               vindicate (enforce or collect) predatory, unlawful debt claims [JSAR Dkt. 5-1 to 5-
               6] based upon inherently unlawful arrangements, including purported debt
               instruments tainted by usurious interest rates or other statutory infractions. 6



6
 Because KTS 's unregistered broker-dealer clients, the 02cv2219 (SDNY) plaintiffs, have contravened 15
U.S.C. § 78o(a)(l) by operating without the required registration, their attempts to enforce or collect
criminally usurious debts are categorically void ab initio, see 18 U.S.C. § 1961(6)(B). Under Lujan v.
Defenders of Wildlife, 504 U.S: 555, 560-61 (1992), a litigant lacks Article III standing absent "a legally
protected interest," which, as a matter of law, cannot legally exist in an unlawful (criminal) arrangement
premised upon criminal usury or other contraventions of federal law. Thus, any judicial proceeding
[02cv2219, 03-93031 , 04crl 1224, 05crl 115, In re Ware (2008) Supreme Court of GA, and 25cv00613] or
enforcement or collection actions undertaken by KTS's clients and their privies [JSAR Dkt. 51 to 5-10] is
constitutionally and statutorily barred, representing an illegal manipulation of the courts to effectuate a
predatory scheme. The predatory criminal usury unlawful debts, GX 1-4, and GX 5, are uncollectible as a
matter of law, and no legitimate remedial avenue remains. KTS cannot validly proceed. NYS Penal Law,
section 190.40, the criminal usury law, a class E felony.

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VI. CONCLUSION

        The legal position of Appellees regarding alleged claims derived from predatory null and
void ab initio criminal usury unlawful debts, GX 1-4 and GX 5, is legally untenable on multiple,
independent grounds. First, their alleged rights under these predatory criminal usury debt
instruments were void ab initio (circa 2001) under federal securities law, 15 U.S.C. § 78cc(b), due
to their operation as unregistered broker-dealers, a fact confirmed by FINRA on May 17, 2021.

        Second, any alleged residual claim was definitively extinguished with prejudice by Judge
Sand's voluntary December 20, 2007, Rule 41(a)(2) Final Judgment in 02cv2219 (SDNY),
triggering the absolute bar of res judicata. The annulment doctrine does not revive these statutorily
void and judicially precluded claims. A. B. Dick., 197 F.2d at 501-02; L-3 EOTech, 921 F.3d at
18-19; cf., Steel Co., 523 U.S . at 94-95.

        The Bankruptcy Court's October 24, 2022 Order (Dkt. 5-7) (Hagenau, C.J.), and all
subsequent orders, Dkt. 5-8, 5-9, and 5-10, (including Murphy, J., Doc. 28, dismissal with
prejudice of the Chapter 11) committed numerous reversible legal errors by failing to recognize
and apply both the federal statutory voidness under§ 78cc(b) and the controlling res judicata effect
of the 2007 Final Judgment. Consequently, that Order, and any prior or subsequent orders
predicated upon it, are legally invalid to the extent they permit Appellees to participate in the
25cv00613 appeal (NDGA) based on these void, moot, and extinguished claims. Appellees
manifestly lack Article III standing, and their continued participation constitutes an impermissible
collateral attack on a final judgment and a disregard for federal law. 7

Respectfully submitted this 31 st day of March 2025 .

The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226
(718) 844-1260
utware007@gmail.com

By: Isl Ulysses T. Ware
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1
  Regional Properties, Inc. v. Financial & Real Estate Consulting Co., 678 F.2d 552 (5th Cir. 1982)
(Clarifies the standard for showing a Section l 5(a)(l) violation and the resulting contract voidness under
§ 78cc(b)); Slomiak v. Bear Stearns & Co., 597 F. Supp. 676 (S.D.N.Y. I 984) (Illustrates that a contract
is unenforceable by a person who violated § 78o(a)(l) because that contract is void as to the violator's
rights.); Eastside Church of Christ v. National Plan, Inc., 391 F.2d 357 (5th Cir. 1968) (Recognizes that
when a securities violation forms the basis of a deal, the court will declare it void or voidable as to that
violator).


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Ulysses T. Ware
Attorney in Fact for Appellants



             Declaration of Filing and Service Pursuant to 18 U.S.C. § 2071(a), (b)

I, Ulysses T. Ware, attorney in fact for the Appellants, hereby declare under penalty of perjury
pursuant to 28 U.S.C. § 1746, that the foregoing memorandum and the attached Declaration (17-
18) (Part 17-18) constitute a judicial pleading submitted to the Office of the District Clerk's
possession for filing and docketing in Case No. 1:25-cv-006 I 3-MLB, on this 31st day of March,
2025 ; and all Appellees, and their legal counsels of record have been served on March 31 , 2025,
with a copy of the foregoing (17-18) (Part 17-18).


Isl Ulysses T. Ware

Ulysses T. Ware, attorney in fact for the Appellants




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(17-18} (Part 17-18} re Appellants' Memorandum of law (#10} re: Hagenau and Ellis-Monro's flagrant,
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                           (19-20A--CL) (Part 19-20A)
                         The Office of Ulysses T. Ware
                                        123 Linden Blvd., Ste 9-L
                                          Brooklyn, NY 11226
                                             (718) 844-1260
                                         utware007@gmail.com

                                        Wednesday, April 2, 2025

Office of the District Clerk
U.S. District Court for the Northern District of Georgia
Richard B. Russell U.S. Courthouse
75 Ted Turner Drive, SW
Atlanta, GA 30303

Re: Ware, et al. v. Alpha Capital AG, et al.
Case No. l:25-cv-00613-MLB (N.D. Ga.)


Submission of Appellants' Memorandum of Law Requesting Judicial Notice Pursuant to
FRE 201(c)(2):re FRE 201(c)(2) Judicial Notice of Appellees' Admitted Unlawful Debt
Collection Crimes.

Dear Clerk:

Please find enclosed for filing in the above-referenced matter the following document, submitted
on behalf of Appellants Ulysses T. Ware and Group Management:

Appellants' Memorandum of Law in Support of Request for Judicial Notice of Admitted
Federal Crimes Evidenced Within the Joint Stipulated Appellate Record (JSAR) Pursuant
to FRE 201(c)(2).

This submission, designated in the Appellants' recordkeeping as "(19-20A)," respectfully requests
that the Court take judicial notice of specific adjudicative facts, binding judicial admissions, and
confessions of criminal conduct committed by Appellees and their agents, as evidenced throughout
the Joint Stipulated Appellate Record, filed pursuant to Fed. R. Bankr. P. 8009(d).

This memorandum is submitted in further support of the Appellants' pending appeal, and
Appellants respectfully request the District Court (Brown, J.) to take judicial notice pursuant to
Federal Rule of Evidence 20l(c)(2), as set forth in detail therein.

Please file the attached Memorandum accordingly and reflect its entry on the civil docket for Case
No. 25-cv-00613.

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Wednesday, April 2, 2025
(Part 17-20A-CL) re Clerk's filing letter
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Should the Court or Clerk's Office require any further documentation or clarification, kindly
advise at your earliest convenience.

Respectfully submitted,

Isl Ulysses T. Ware
Ulysses T. Ware
Attorney in Fact for Appellants
Ulysses T. Ware and Group Management
Email: utware007@gmail.com
Tel : (718) 844-1260

Enclosure:

    •    (19-20A) Appellants ' FRE 20l(c)(2) Memorandum of Law (dated April 2, 2025)




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Wednesday, April 2, 2025
(Part 17-20A-CL) re Clerk's filing letter
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                       The Office of Ulysses T. Ware
                                       123 Linden Blvd., Ste 9-L
                                         Brooklyn, NY 11226
                                            (718) 844-1260
                                        utware007@gmail.com

                               Tuesday, April 1, 2025, 02:22:50 PM

Office of the District Clerk
U.S. District Court for the Northern District of Georgia
Richard B. Russell U.S. Courthouse
75 Ted Turner Drive, SW
Atlanta, GA 30303

Re: 25cv00613 (MLB)-Filingo/(17-19): 18 U.S.C. § 207/(a), (b) Emergency Judicial Record
Submitted for Filing and Custody.

To the Office of the District Clerk:

Pursuant to 18 U.S.C. §§ 207l(a), (b), 28 U.S.C. § 1654, the Appellants, Ulysses T. Ware and
Group Management, by and through the undersigned attorney-in-fact, hereby submit for filing
and immediate docketing the enclosed Part 17-19, an urgent judicial pleading titled:

Appellants' Emergency Motion for Immediate Relieffrom Dkt. JO Briefing Schedule and for
Stay of All Appellate Deadlines Pending Resolution of Jurisdictional Defects, Sanction
Proceedings, and Related Article III Constitutional Objections.

This submission is filed for emergency adjudication by the Honorable District Judge Michael
L. Brown, and is integrally related to Appellants' earlier-filed filings: (17-1), (17-4), and (17-5),
which assert jurisdictional and constitutional infirmities in Dkt. 10 's March 17, 2025 briefing
schedule. Appellants respectfully state that:

    •    The predicate bankruptcy and appellate proceedings are alleged to have been tainted by
         violations of 18 U.S.C. §§ 1961(6)(B) and are null and void ab initio, as further
         supported by the judicial admissions of record and by the Bankruptcy Court's Dkt. 296
         certification.
    •    The filing is made for preservation of the official judicial record pursuant to 18 U.S.C. §
         2071(a) and is submitted for custodial entry into the official docket, to ensure record
         preservation in light of the constitutional and statutory gravity of the underlying
         proceedings.

Appellants respectfully request that the Clerk docket this filing forthwith under the captioned
case and forward it to the Chambers of the Hon. Judge Brown for immediate review.




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Should the Court require any further clarification or conference, Appellants are prepared to
appear at such time and place as directed.




Attorney-in-fact for Appellants
Ulysses T. Ware and Group Management


cc: Chambers of the Hon. Michael L. Brown
Clerk, U.S. Bankruptcy Court (NDGA)
Office of the U.S . Trustee, Region 21




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                             (17-19) (Part 17-19)
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Re: APPELLANTS' LOCAL•
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  Filed on Tuesday, AprU l, 2025, at 2:16:12 PM with
 the Hon. ·o .i strict Judge Michael L . Brolvn via email to
 Chambers, given the emerg.eocy nature of the motion.

All Appellees and counsel have been
served via public email.
Isl Ulysses T. ·w are

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Tuesday, April 1., 20'.tS
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